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FILED IN OPEN COURT.

FEB 16 2018

IN THE UNITED STATES DISTRICT COURT gierk, U.S. DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA DISTRICT OF COLUMBIA 4

UNITED STATES OF AMERICA
CRIMINAL NO. 17-201 (ABJ)(S-1)
v.
(18 U.S.C. §§ 2, 371, 981 (a)(1(C), 982,
1001(a), 1956(h), and 3551 et seq.; 22
U.S.C. §§ 612, 618(a)(1), and 618(a)(2);
28 U.S.C. § 2461 (c))

PAUL J. MANAFORT, JR.,

Defendant.

+ * * FF & KF HF &

* UNDER SEAL

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SUPERSEDING INDICTMENT
The Grand Jury for the District of Columbia charges:
Introduction

At all times relevant to this Superseding Indictment:

1. Defendant PAUL J. MANAFORT, JR. (MANAFORT) served for years as a political
consultant and lobbyist. Between at least 2006 and 2015, MANAFORT, through companies he
ran, acted as an unregistered agent of a foreign government and foreign political parties.
Specifically, he represented the Government of Ukraine, the President of Ukraine (Victor
Yanukovych, who was President from 2010 to 2014), the Party of Regions (a Ukrainian political
party led by Yanukovych), and the Opposition Bloc (a successor to the Party of Regions after
Yanukovych fled to Russia in 2014).

2. MANAFORT generated tens of millions of dollars in income as a result of his Ukraine
work. From approximately 2006 through 2017, MANAFORT, along with others including

Richard W. Gates III (Gates), engaged in a scheme to hide the Ukraine income from United States
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authorities, while enjoying the use of the moncy. From approximately 2006 to 2015, when
MANAFORT was generating tens of millions of dollars in income from his Ukraine activities,
MANAFORT, with the assistance of Gates, avoided paying taxes by disguising tens of millions of
dollars in income as alleged “loans” from nominee offshore corporate entities and by making
millions of dollars in unreported payments from foreign accounts to bank accounts they controlled
and United States vendors. MANAFORT also used the offshore accounts to purchase real estate
in the United States, and MANAFORT used the undisclosed income to make improvements to and
refinance his United States properties.

3, In furtherance of the scheme, MANAFORT, with the assistance of Gates, funneled millions
of dollars in payments into numerous foreign nominee companies and bank accounts, opened by
them and their accomplices in nominee names and in various foreign countries, including Cyprus,
Saint Vincent & the Grenadines (Grenadines), and the Seychelles. MANAFORT concealed the
existence and ownership of the foreign companies and bank accounts, falsely and repeatedly
reporting to his tax preparers and to the United States that he had no foreign bank accounts.

4. In furtherance of the scheme, MANAFORT, with the assistance of Gates, concealed from
the United States his work as an agent of, and millions of dollars in payments from, Ukraine and
its political parties and leaders. Because MANAFORT, among other things, participated in a
campaign to lobby United States officials on behalf of the Government of Ukraine, the President
of Ukraine, and the Party of Regions, he was required by law to report to the United States his
work and fees. MANAFORT did not do so. Instead, when the Department of Justice sent inquiries
to MANAFORT and Gates in 2016 about their activities, MANAFORT and Gates responded with
a series of false and misleading statements.

5. In furtherance of the scheme, MANAFORT used his hidden overseas wealth to enjoy a

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lavish lifestyle in the United States, without paying taxes on that income. MANAFORT, without
reporting the income to his tax preparer or the United States, spent millions of dollars on luxury
goods and services for himself and his extended family through payments wired from offshore
nominee accounts to United States vendors. MANAFORT also used these offshore accounts to
purchase multi-million dollar properties in the United States and to improve substantially another
property owned by his family.
6. In total, more than $75,000,000 flowed through these offshore accounts. MANAFORT,
with the assistance of Gates, laundered more than $30,000,000, income that he concealed from the
United States Department of the Treasury (Treasury), the Department of Justice, and others.
Relevant Individuals And Entities
7. MANAFORT was a United States citizen. He resided in homes in Virginia, Florida, and
Long Island, New York.
8. Gates was a United States citizen. He resided in Virginia.
9. In 2005, MANAFORT and another partner created Davis Manafort Partners, Inc. (DMP) to
engage principally in political consulting. DMP had staff in the United States, Ukraine, and
Russia. In 2011, MANAFORT created DMP International, LLC (DMI) to engage in work for
foreign clients, in particular political consulting, lobbying, and public relations for the Government
of Ukraine, the Party of Regions, and members of the Party of Regions. DMI was a partnership
solely owned by MANAFORT and his spouse. Gates worked for both DMP and DMI and served
as MANAFORT?s right-hand man.
10. The Party of Regions was a pro-Russia political party in Ukraine. Beginning in
approximately 2006, it retained MANAFORT, through DMP and then DMI, to advance its
interests in Ukraine, the United States, and elsewhere, including the election of its Ukrainian slate

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of candidates. In 2010, its candidate for President, Yanukovych, was elected President of Ukraine.

In 2014, Yanukovych fled Ukraine for Russia in the wake of popular protests of widespread

governmental corruption. Yanukovych, the Party of Regions, and the Government of Ukraine

were MANAFORT, DMP, and DMI clients.

11. The European Centre for a Modern Ukraine (the Centre) was created in or about 2012 in

Belgium as a mouthpiece for Yanukovych and the Party of Regions. It reported to the Ukraine

First Vice Prime Minister. The Centre was used by MANAFORT, Gates, and others in order to

lobby and conduct a public relations campaign in the United States and Europe on behalf of the

existing Ukraine regime.

Yanukovych in 2014.

The Centre effectively ceased to operate upon the downfall of

12. MANAFORT, with the assistance of Gates, owned or controlled the following entities,

which were used in the scheme (the MANAFORT entities):

 

 

 

Domestic Entities

Entity Name | Date Created Incorporation Location... 7 :
August 2008 Virginia

Daisy Manafort, LLC (PM) se ef nena ne nen
March 2011 Florida

Davis Manafort International LLC March 2007 Delaware

(PM)
March 2005 Virginia

DMP (PM) sews wees -
March 2011 Florida
October 1999 Delaware

Davis Manafort, Inc. (PM) Ds mo fy
November 1999 Virginia
June 2011 Delaware

DMI (PM) 2 tte neee ene o Se me
March 2012 Florida

 

 

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Entity Name
Global Sites LL C (PM, RG)
Jesand Investment Corporation (PM)

Jesand Investments Corporation (PM)
John Hannah, LLC (PM)

Lilred, LLC (PM)

LOAV Ltd. (PM)
MC Brooklyn Holdings, LLC (PM)

MC Soho Holdings, LLC (PM)

Smythson LLC (also known as
Symthson ILLC) (PM, RG)

 

Date Created

J uly 2008

April 2002

March 201 1

April 2 2006
March 201 1
December 201 1
April 1992
| November 2012
January 2012

April 2012

July 2008

 

Cypriot Entities

Incorporation Location

 

 

Delaware
Virginia
Florida

V inginia |
EF lorida |
Florida

Delaware

New York”

Florida

New York

Delaware

 

 

 

 

 

 

 

 

 

 

 

Entity Name - Date Created Incorporation Location
Actinet Trading Limited (PM, RG) May 2009 Cyprus
Black Sea View Limited (PM, RG) August 2007 Cyprus
Bletilla Ventures Limited (PM, RG) October 2010 Cyprus
Global Highway Limited (PM, RG) August 2007 Cyprus
Leviathan Advisors Limited (PM, RG) | August 2007 Cyprus
LOAV V Advisors Limited (PM, RG) August 2007 Cyprus
J.ucicle Consultants Limited (PM, RG) | December 2008 Cyprus
Marziola Holdings Limited (PM) March 2012 Cyprus

 

 

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“Entity Name -
Olivenia Trading Limited (PM, RG)
‘Peranova | loldings Limited ( Peranova)
(PM, RG)

| Serangon Holdings Limited (PM, RG)

 

Yiakora Ventures Limited (PM)

 

 

Date Created

Incorporation Location

 

March 2012
June 2007

January 2008

February 2008

Cyprus

 

Cyprus

Cyprus

 

 

Cyprus

 

 

Other Foreign Entities

 

Entity Name

 

 

 

 

 

 

 

oo Date Created Incorporation Location
Global Endeavour Inc. (also known as_ | Unknown Grenadines
Global Endeavor Inc.) (PM)
Jeunet Ltd. (PM) August 2011 Grenadines
Pompolo Limited (PM, RG) April 2013 United Kingdom

 

 

 

13. The Internal Revenue Service (IRS) was a bureau in

the Treasury responsible for

administering the tax laws of the United States and collecting taxes owed to the Treasury.

The Scheme

14. Between in or around 2006 and 2017, both dates being approximate and inclusive, in the

District of Columbia and elsewhere, MANAFORT and others devised and intended to devise, and

executed and attempted to execute, a scheme and artifice to defraud, and to obtain money and

property by means of false and fraudulent pretenses, representations, and promises from the United

States and others. As part of the scheme, MANAFORT repeatedly provided and caused to be

provided false information to financial bookkeepers, tax accountants, and legal counsel, among

others.
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MANAFORT’s Wiring Money From Offshore Accounts Into The United States

15. In order to use the money in the offshore nominee accounts of the MANAFORT entities

without paying taxes on it, MANAFORT caused millions of dollars in wire transfers from these

accounts to be made for goods, services, and real estate. He did not report.these transfers as

income.

16. From 2008 to 2014, MANAFORT caused the following wires, totaling over $12,000,000,

to be sent to the vendors listed below for personal items. MANAFORT did not pay taxes on this

income, which was used to make the purchases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Payee Transaction Originating Account Country of | Amount of
Date Holder Origination | Transaction
Vendor A 6/10/2008 | LOAV Advisors Limited | Cyprus $107,000
(Home 6/25/2008 | LOAV Advisors Limited Cyprus $23,500
Improvement 7/7/2008 | LOAV Advisors Limited Cyprus $20,000
Company in the 8/5/2008 | Yiakora Ventures Limited | Cyprus $59,000
Hamptons, New 9/2/2008 | Yiakora Ventures Limited | Cyprus $272,000
York) 10/6/2008 | Yiakora Ventures Limited | Cyprus $109,000
10/24/2008 | Yiakora Ventures Limited | Cyprus $107,800
11/20/2008 | Yiakora Ventures Limited | Cyprus $77,400
12/22/2008 | Yiakora Ventures Limited Cyprus $100,000
1/14/2009 | Yiakora Ventures Limited | Cyprus $9,250
1/29/2009 | Yiakora Ventures Limited Cyprus $97,670
2/25/2009 | Yiakora Ventures Limited | Cyprus $108,100
4/16/2009 | Yiakora Ventures Limited | Cyprus $94,394
5/7/2009 | Yiakora Ventures Limited | Cyprus $54,000
5/12/2009 | Yiakora Ventures Limited Cyprus $9,550
6/1/2009 | Yiakora Ventures Limited | Cyprus $86,650
6/18/2009 | Yiakora Ventures Limited Cyprus $34,400
7/31/2009 | Yiakora Ventures Limited Cyprus $106,000
8/28/2009 | Yiakora Ventures Limited Cyprus $37,000
9/23/2009 | Yiakora Ventures Limited Cyprus $203,500
10/26/2009 | Yiakora Ventures Limited | Cyprus $38,800

 

 

 

 

 

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Payee Transaction Originating Account Country of Amount of
Date Holder Origination | Transaction
11/18/2009 | Global Highway Limited Cyprus $130,906

3/8/2010 | Global Highway Limited Cyprus $124,000
5/11/2010 | Global Highway Limited Cyprus $25,000
7/8/2010 | Global Highway Limited Cyprus $28,000
7/23/2010 | Leviathan Advisors Limited | Cyprus $26,500
8/12/2010 | Leviathan Advisors Limited | Cyprus $138,900
9/2/2010 | Yiakora Ventures Limited Cyprus $31,500
10/6/2010 | Global Highway Limited Cyprus $67,600
10/14/2010 | Yiakora Ventures Limited Cyprus $107,600
10/18/2010 | Leviathan Advisors Limited | Cyprus $31,500
12/16/2010 | Global Highway Limited Cyprus $46,160
2/7/2011 | Global Highway Limited Cyprus $36,500
3/22/2011 | Leviathan Advisors Limited | Cyprus $26,800
4/4/2011 | Leviathan Advisors Limited | Cyprus $195,000
5/3/2011 | Global Highway Limited Cyprus $95,000
5/16/2011 | Leviathan Advisors Limited | Cyprus $6,500
5/31/2011 | Leviathan Advisors Limited | Cyprus $70,000
6/27/2011 | Leviathan Advisors Limited | Cyprus $39,900
7/27/2011 | Leviathan Advisors Limited | Cyprus $95,000
10/24/2011 | Global Highway Limited Cyprus $22,000
10/25/2011 | Global Highway Limited Cyprus $9,300
11/15/2011 | Global Highway Limited Cyprus $74,000
11/23/2011 | Global Highway Limited Cyprus $22,300
11/29/2011 | Global Highway Limited Cyprus $6,100
12/12/2011 | Leviathan Advisors Limited | Cyprus $17,800
1/17/2012 | Global Highway Limited Cyprus $29,800
1/20/2012 | Global Highway Limited Cyprus $42,600
2/9/2012 | Global Highway Limited Cyprus $22,300
2/23/2012 | Global Highway Limited Cyprus $75,000
2/28/2012 | Global Highway Limited Cyprus $22,300
3/28/2012 | Peranova Cyprus $37,500
4/18/2012 | Lucicle Consultants Limited | Cyprus $50,000
5/15/2012 ) Lucicle Consultants Limited | Cyprus $79,000
6/5/2012 | Lucicle Consultants Limited | Cyprus $45,000
6/19/2012 | Lucicle Consultants Limited | Cyprus $11,860
7/9/2012 | Lucicle Consultants Limited | Cyprus $10,800
7/18/2012 | Lucicle Consultants Limited | Cyprus $88,000
8/7/2012 | Lucicle Consultants Limited | Cyprus $48,800

 

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Payee Transaction Originating Account Country of | Amount of

Date Holder Origination | Transaction
9/27/2012 | Lucicle Consultants Limited | Cyprus $100,000
11/20/2012 | Lucicle Consultants Limited | Cyprus $298,000
12/20/2012 | Lucicle Consultants Limited | Cyprus $55,000
1/29/2013 | Lucicle Consultants Limited | Cyprus $149,000
3/12/2013 | Lucicle Consultants Limited | Cyprus $375,000
8/29/2013 | Global Endeavour Inc. Grenadines $200,000
11/13/2013 | Global Endeavour Inc. Grenadines $75,000
11/26/2013 | Global Endeavour Inc. Grenadines $80,000
12/6/2013 | Global Endeavour Inc. Grenadines $130,000
12/12/2013 | Global Endeavour Inc. Grenadines $90,000
4/22/2014 | Global Endeavour Inc. Grenadines $56,293
8/18/2014 | Global Endeavour Inc. Grenadines $34,660
Vendor A Total $5,434,793
Vendor B 3/22/2011 | Leviathan Advisors Limited | Cyprus $12,000
(Home 3/28/2011 | Leviathan Advisors Limited | Cyprus $25,000
Automation, 4/27/2011 | Leviathan Advisors Limited | Cyprus $12,000
Lighting, and 5/16/2011 | Leviathan Advisors Limited | Cyprus $25,000
Home — 11/15/2011 | Global Highway Limited | Cyprus $17,006
Entertainm ent 11/23/2011 | Global Highway Limited Cyprus $11,000
rloriaay. in 2/28/2012 | Global Highway Limited | Cyprus $6,200
10/31/2012 | Lucicle Consultants Limited | Cyprus $290,000
12/17/2012 | Lucicle Consultants Limited | Cyprus $160,600
1/15/2013 | Lucicle Consultants Limited | Cyprus $194,000
1/24/2013 | Lucicle Consultants Limited | Cyprus $6,300
2/12/2013 | Lucicle Consultants Limited | Cyprus $51,600
2/26/2013 | Lucicle Consultants Limited | Cyprus $260,000
7/15/2013 | Pompolo Limited United $175,575

Kingdom

11/5/2013 | Global Endeavour Inc. Grenadines $73,000
Vendor B Total $1,319,281
Vendor C 10/7/2008 | Yiakora Ventures Limited | Cyprus $15,750
(Antique Rug 3/17/2009 | Yiakora Ventures Limited Cyprus $46,200
Store in 4/16/2009 | Yiakora Ventures Limited | Cyprus $7,400
Alexandria, 4/27/2009 | Yiakora Ventures Limited | Cyprus $65,000
Virginia) 5/7/2009 | Yiakora Ventures Limited | Cyprus $210,000
7/15/2009 | Yiakora Ventures Limited | Cyprus $200,000
3/31/2010 | Yiakora Ventures Limited | Cyprus $140,000
6/16/2010 | Global Highway Limited Cyprus $250,000

 

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Payce Transaction Originating Account Country of Amount of
Date Holder Origination | Transaction
Vendor C Total $934,350
Vendor D
(Related to 2/28/2012 | Global Highway Limited Cyprus $100,000
Vendor C)
Vendor D Total $100,000
Vendor E 11/7/2008 | Yiakora Ventures Limited | Cyprus $32,000
(Men’s Clothing 2/5/2009 | Yiakora Ventures Limited — | Cyprus $22,750
Store in New 4/27/2009 | Yiakora Ventures Limited | Cyprus $13,500
York) 10/26/2009 | Yiakora Ventures Limited | Cyprus $32,500
3/30/2010 | Yiakora Ventures Limited Cyprus $15,000
5/11/2010 | Global Highway Limited Cyprus $39,000
6/28/2010 | Leviathan Advisors Limited | Cyprus $5,000
8/12/2010 | Leviathan Advisors Limited | Cyprus $32,500
11/17/2010 | Global Highway Limited Cyprus $11,500
2/7/2011 | Global Highway Limited Cyprus $24,000
3/22/2011 | Leviathan Advisors Limited | Cyprus $43,600
3/28/2011 | Leviathan Advisors Limited | Cyprus $12,000
4/27/2011 | Leviathan Advisors Limited | Cyprus $3,000
6/30/2011 | Global Highway Limited Cyprus $24,500
9/26/2011 | Leviathan Advisors Limited | Cyprus $12,000
11/2/2011 | Global Highway Limited Cyprus $26,700
12/12/2011 | Leviathan Advisors Limited | Cyprus $46,000
2/9/2012 | Global Highway Limited Cyprus $2,800
2/28/2012 | Global Highway Limited Cyprus $16,000
3/14/2012 | Lucicle Consultants Limited | Cyprus $8,000
4/18/2012 | Lucicle Consultants Limited | Cyprus $48,550
5/15/2012 | Lucicle Consultants Limited | Cyprus $7,000
6/19/2012 | Lucicle Consultants Limited | Cyprus $21,600
8/7/2012 | Lucicle Consultants Limited | Cyprus $15,500
11/20/2012 | Lucicle Consultants Limited | Cyprus $10,900
12/20/2012 | Lucicle Consultants Limited | Cyprus $7,500
1/15/2013 | Lucicle Consultants Limited | Cyprus $37,000
2/12/2013 | Lucicle Consultants Limited | Cyprus $7,000
2/26/2013 | Lucicle Consultants Limited | Cyprus $39,000
9/3/2013 | Global Endeavour Inc. Grenadines $81,500
10/15/2013 | Global Endeavour Inc. Grenadines $53,000
11/26/2013 | Global Endeavour Inc. Grenadines $13,200
4/24/2014 | Global Endeavour Inc. Grenadines $26,680

 

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Payee Transaction Originating Account Country of Amount of
Date Holder Origination | Transaction
9/11/2014 | Global Endeavour Inc. Grenadines $58,435
Vendor E Total $849,215
Vendor F 4/27/2009 | Yiakora Ventures Limited Cyprus $34,000
(Landscaper in 5/12/2009 | Yiakora Ventures Limited Cyprus $45,700
the Hamptons, 6/1/2009 | Yiakora Ventures Limited | Cyprus $21,500
New York) 6/18/2009 | Yiakora Ventures Limited | Cyprus $29,000
9/21/2009 | Yiakora Ventures Limited | Cyprus $21,800
5/11/2010 | Global Highway Limited Cyprus $44,000
6/28/2010 | Leviathan Advisors Limited | Cyprus $50,000
7/23/2010 | Leviathan Advisors Limited | Cyprus $19,000
9/2/2010 | Yiakora Ventures Limited | Cyprus $21,000
10/6/2010 | Global Highway Limited Cyprus $57,700
10/18/2010 | Leviathan Advisors Limited | Cyprus $26,000
12/16/2010 ; Global Highway Limitcd Cyprus $20,000
3/22/2011 | Leviathan Advisors Limited | Cyprus $50,000
5/3/2011 | Global Highway Limited Cyprus $40,000
6/1/2011 | Leviathan Advisors Limited | Cyprus $44,000
7/27/2011 | Leviathan Advisors Limited | Cyprus $27,000
8/16/2011 | Leviathan Advisors Limited | Cyprus $13,450
9/19/2011 | Leviathan Advisors Limited | Cyprus $12,000
10/24/2011 | Global Highway Limited Cyprus $42,000
11/2/2011 | Global Highway Limited Cyprus $37,350
Vendor F Total $655,500
Vendor G 9/2/2010 | Yiakora Ventures Limited | Cyprus $165,000
(Antique Dealer 10/18/2010 | Leviathan Advisors Limited | Cyprus $165,000
in New York) 2/28/2012 | Global Highway Limited Cyprus $190,600
3/14/2012 | Lucicle Consultants Limited | Cyprus $75,000
2/26/2013 | Lucicle Consultants Limited | Cyprus $28,310
Vendor G Total $623,910
Vendor H 6/25/2008 | LOAV Advisors Limited Cyprus $52,000
(Clothing Store in 12/16/2008 | Yiakora Ventures Limited | Cyprus $49,000
Beverly Hills, 12/22/2008 | Yiakora Ventures Limited | Cyprus $10,260
California) 8/12/2009 | Yiakora Ventures Limited | Cyprus $76,400
5/11/2010 | Global Highway Limited Cyprus $85,000
11/17/2010 | Global Highway Limited Cyprus $128,280
5/31/2011 | Leviathan Advisors Limited | Cyprus $64,000
11/15/2011 | Global Highway Limited Cyprus $48,000
12/17/2012 | Lucicle Consultants Limited | Cyprus $7,500

 

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Payee Transaction Originating Account Country of Amount of
Date Holder Origination | Transaction
Vendor H Total $520,440
Vendor I
(Investment 9/3/2013 | Global Endeavour Inc. Grenadines $500,000
Company)
Vendor I Total $500,000
Vendor J 11/15/2011 | Global Highway Limited Cyprus $8,000
(Contractor in 12/5/2011 | Leviathan Advisors Limited | Cyprus $11,237
Florida) 12/21/2011 | Black Sea View Limited Cyprus $20,000
2/9/2012 | Global Highway Limited Cyprus $51,000
5/17/2012 | Lucicle Consultants Limited | Cyprus $68,000
6/19/2012 | Lucicle Consultants Limited | Cyprus $60;000
7/18/2012 | Lucicle Consultants Limited | Cyprus $32,250
9/19/2012 | Lucicle Consultants Limited | Cyprus $112,000
11/30/2012 | Lucicle Consultants Limited | Cyprus $39,700
1/9/2013 | Lucicle Consultants Limited | Cyprus $25,600
2/28/2013 | Lucicle Consultants Limited | Cyprus $4,700
Vendor J Total $432,487
Vendor K 12/5/2011 | Leviathan Advisors Limited | Cyprus $4,115
(Landscaper in 3/1/2012 | Global Highway Limited | Cyprus $50,000
the Hamptons, 6/6/2012 | Lucicle Consultants Limited | Cyprus $47,800
New York) 6/25/2012 | Lucicle Consultants Limited | Cyprus $17,900
6/27/2012 | Lucicle Consultants Limited | Cyprus $18,900
2/12/2013 | Lucicle Consultants Limited | Cyprus $3,300
7/15/2013 | Pompolo Limited United $13,325
Kingdom
11/26/2013 | Global Endeavour Inc. Grenadines $9,400
Vendor K Total $164,740
Vendor L 4/12/2012 | Lucicle Consultants Limited | Cyprus $83,525
(Payments 5/2/2012 | Lucicle Consultants Limited | Cyprus $12,525
Relating to Three . ,
Range Rovers) 6/29/2012 | Lucicle Consultants Limited | Cyprus $67,655
Vendor L Total $163,705
Vendor M 11/20/2012 | Lucicle Consultants Limited | Cyprus $45,000
(Contractor in 12/7/2012 | Lucicle Consultants Limited | Cyprus $21,000
Virginia) 12/17/2012 | Lucicle Consultants Limited | Cyprus $21,000
1/17/2013 | Lucicle Consultants Limited | Cyprus $18,750
1/29/2013 | Lucicle Consultants Limited | Cyprus $9,400

 

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Payee Transaction Originating Account Country of | Amount of
Date Holder Origination | Transaction
2/12/2013 | Lucicle Consultants Limited | Cyprus $10,500
Vendor M Total $125,650
Vendor N 1/29/2009 | Yiakora Ventures Limited | Cyprus $10,000
(Audio, Video, 3/17/2009 | Yiakora Ventures Limited | Cyprus $21,725
and Control 4/16/2009 | Yiakora Ventures Limited | Cyprus $24,650
System Home 12/2/2009 | Global Highway Limited Cyprus $10,000
Integration and 3/8/2010 | Global Highway Limited _| Cyprus $20,300
Installation 4/23/2010 | Yiakora Ventures Limited | Cyprus $8,500
Company in the
vor’) tons, New 7/29/2010 | Leviathan Advisors Limited | Cyprus $17,650
Vendor N Total $112,825
Vendor O
renee Benz) 10/5/2012 | Lucicle Consultants Limited | Cyprus $62,750
Vendor O Total $62,750
Vendor P
(Purchase of 12/30/2008 | Yiakora Ventures Limited | Cyprus $47,000
Range Rover)

; Vendor P Total $47,000
Vendor Q 9/2/2010 | Yiakora Ventures Limited | Cyprus $10,000
(Property 10/6/2010 | Global Highway Limited Cyprus $10,000
Management 10/18/2010 | Leviathan Advisors Limited | Cyprus $10,000
Company in 2/8/2011 | Global Highway Limited | Cyprus $13,500
South Carolina)

2/9/2012 | Global Highway Limited Cyprus $2,500

Vendor Q Total $46,000

Vendor R 2/9/2011 | Global Highway Limited Cyprus $17,900

Forde) lery in 2/14/2013 | Lucicle Consultants Limited | Cyprus $14,000

Vendor R Total $31,900

Vendor S 9/26/2011 | Leviathan Advisors Limited | Cyprus $5,000

(Housekeeping in 9/19/2012 | Lucicle Consultants Limited | Cyprus $5,000
New York)

10/9/2013 | Global Endeavour Inc. Grenadines $10,000

Vendor S Total $20,000

 

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17.

In 2012, MANAFORT caused the following wires to be sent to the entitics listed below to

purchase the real estate also listed below. MANAFORT did not report the money used to make

these purchases on his 2012 tax return.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Property . Originating Country of
Purchased =| Payee Date Account _ Origin Amount
Howard Street | DMP
Condominium | International 2/1/2012 | Peranova Cyprus $1,500,000
(New York) LLC
Pg Attorney OT , Actinet Trading
Union Street Account Of 11/29/2012 Limited Cyprus $1,800,000
Rewvony | REST agnor | Abe TARE || stamo.on0
Attorney] _ Limited YP | aan
Arlington .
House Real Estate | 9/31/2912 | Lucicle Consultants | Gus $1,900,000
ee Trust Limited
(Virginia)
Total $6,400,000
18. MANAFORT also disguised, as purported “loans,” more than $10 million from Cypriot

entities, including the overseas MANAFORT entities, to domestic entities owned by

MANAFORT. For example, a $1.5 million wire from Peranova to DMI that MANAFORT used

to purchase real estate on Howard Street in Manhattan, New York, was recorded as a “loan” from

Peranova to DMI, rather than as income. The following loans were shams designed to reduce

fraudulently MANAFORT’s reported taxable income.

 

 

 

 

 

 

 

 

 

 

 

 

Year Payor / Ostensible Payee / Ostensible | Country of | Total Amount
__ “Lender” |. “Borrower” __ Origin of “Loans” _

2008 | Yiakora Ventures Limited | Jesand Investment Cyprus $8,120,000

oo Corporation -

2008 | Yiakora Ventures Limited | DMP Cyprus $500,000

2009 | Yiakora Ventures Limited | DMP Cyprus $694,000

2009 | Yiakora Ventures Limited | Daisy Manafort, LLC _| Cyprus $500,000

2012 | Peranova __| DMI ____ Cyprus $1,500,000

 

 

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2014 | Telmar Investments Id. |DMI | Cyprus | $900,000 |
2015 | Telmar Investments Ltd. | DMI Cyprus $1,000,000
Total $13,214,000

 

 

 

MANAFORT’s Hiding Ukraine Lobbving And Public Relations Work

19. It is illegal to act as an agent of a foreign principal engaged in certain United States influence
activities without registering the affiliation. Specifically, a person who engages in lobbying or
public relations work in the United States (hereafter collectively referred to as lobbying) for a
foreign principal, such as the Government of Ukrainc or the Party of Regions, is required to provide
a detailed written registration statement to the United States Department of Justice. The filing,
made under oath, must disclose the name of the foreign principal, the financial payments to the
lobbyist, and the measures undertaken for the foreign principal, among other information. A
person required to make such a filing must further include in all lobbying material a “conspicuous
statement” that the materials are distributed on behalf of the foreign principal, among other things.
The filing thus permits public awareness and evaluation of the activities of a lobbyist who acts as
an agent of a foreign power or foreign political party in the United States.

20. In furtherance of the scheme, from 2006 until 2014, both dates being approximate and
inclusive, MANAFORT, with the assistance of Gates and others, engaged in a multi-million dollar
lobbying campaign in the United States at the direction of Yanukovych, the Party of Regions, and
the Government of Ukraine. MANAFORT did so without registering and providing the
disclosures required by law.

21. As one part of the scheme, in February 2012, MANAFORT, with the assistance of Gates,
solicited two Washington, D.C., firms (Company A and Company B) to lobby in the United States

on behalf of Yanukovych, the Party of Regions, and the Government of Ukraine. For instance,

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Gates wrote to Company A that it would be “representing the Government of Ukraine in
[ Washington,] DC.”

22. MANAFORT repeatedly communicated in person and in writing with Yanukovych, and
Gates passed on directions to Company A and Company B. For instance, MANAFORT wrote
Yanukovych a memorandum dated April 8, 2012, in which he provided Yanukovych an update on
the lobbying firms’ activities “since the inception of the project a few weeks ago. It is my intention
to provide you with a weekly update moving forward.” Toward the end of that first year, in
November 2012, Gates wrote to Company A and Company B that the firms needed to prepare an
assessment of their past and prospective lobbying efforts so the “President” could be briefed by
“Paul” “on what Ukraine has done well and what it can do better as we move into 2013.”

23. At the direction of MANAFORT and Gates, Company A and Company B engaged in
extensive lobbying. Among other things, they lobbied multiple Members of Congress and their
staffs about Ukraine sanctions, the validity of Ukraine elections, and the propriety of
Yanukovych’s imprisoning his presidential rival, Yulia Tymoshenko. In addition, with the
assistance of Company A, MANAFORT directly lobbied a Member of Congress who had Ukraine
within his subcommittee’s purview, and reported that lobbying effort to senior Government of
Ukraine leadership.

24. To minimize public disclosure of their lobbying campaign and distance their work from the
Government of Ukraine, MANAFORT, Gates, and others arranged for the Centre to be the nominal
client of Company A and Company B, even though in fact the Centre was under the ultimate
direction of the Government of Ukraine, Yanukovych, and the Party of Regions, and reported to
the First Vice Prime Minister. For instance, MANAFORT and Gates selected Company A and
Company B, and only thereafter did the Centre sign contracts with the lobbying firms without ever

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meeting either company. Company A and Company B were paid for their services not by their
nominal clicnt, the Centre, but solely through offshore accounts associated with the MANAFORT
entities, namely Bletilla Ventures Limited (in Cyprus) and Jeunet Ltd. and Global Endeavour Inc.
(in Grenadines). In total, Company A and Company B were paid more than $2 million from these
accounts between 2U]2 and 2014. Indeed, various employees of Company A and Company B
viewed the Centre as a fig leaf. As a Company A employec noted to another employee: Gates was
lobbying for the Centre “in name only. [YJou’ve gotta see through the nonsense of thatf.]”

25. Neither Company A nor Company B registered as required with the United States
Department of Justice. In order to avoid such registration, Gates provided the companies a false
and misleading signed statement from the Centre, stating that it was not “directly or indirectly
supervised, directed, controlled, financed, or subsidized in whole or in part by a government of a
foreign country or a foreign political party.” In fact, the Centre took direction from Yanukovych
and the Ukraine First Vice Prime Minister.

26. To conceal the scheme, MANAFORT and Gates developed a false and misleading cover
story that would distance themselves and the Government of Ukraine, Yanukovych, and the Party
of Regions from the Centre, Company A, and Company B. For instance, in the wake of extensive
press reports on MANAFORT and his connections with Ukraine, on August 16, 2016, Gates
communicated false and misleading talking points to Company B in writing, including:

e Q: “Can you describe your initial contact with [Company B] and the lobbying goals
he discussed with them?” A: “We provided an introduction between the [Centre]
and [Company B/Company A] in 2012. The [Centre] was seeking to retain
representation in Washington, DC to support the mission of the NGO.”

e A: “Our [MANAFORT and Gates’) task was to assist the [Centre to} find

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representation in Washington, but at no time did our firm or members provide any
direct lobbying support.”
e A: “The structure of the arrangement hetwecn the [Centre] and [Company A /
Company B] was worked out by the two parties.”
e Q: “Can you say where the funding from for [sic] the [Centre] came from? (this
amounted to well over a million dollars between 2012 and 2014).” A: “This is a
question better asked of the [Centre] who contracted with the two firms.”
e Q: “Can you describe the lobbying work specifically undertaken by [Company B]
on behalf of the Party of Regions/the (Centre]?” A: “This is a question better asked
to [Company B] and/or the [Centre] as the agreement was between the parties. Our
firm did not play a role in the structure, nor were we registered lobbyists.”
Company B through a principal replied to Gates the same day that “there’s a lot of email traffic
that has you much more involved than this suggests[.] We will not disclose that but heaven knows
what former employees of [Company B] or [Company A] might say.”
27. In September 2016, after numerous recent press reports concerning MANAFORT, the
Department of Justice informed MANAFORT, Gates, and DMI that it sought to determine whether
they had acted as agents of a foreign principal under the Foreign Agents Registration Act (FARA),
without registering. In November 2016 and February 2017, MANAFORT, Gates, and DMI caused
false and misleading letters to be submitted to the Department of Justice, which mirrored the false
cover story set out above. The letters, both of which were approved by MANAFORT and Gates
before they were submitted, represented, among other things, that:

¢ DMI’s “efforts on behalf of the Party of Regions” “did not include meetings or

outreach within the U.S.”;

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e

MANAFORT and Gates did not “recall meeting with or conducting outrcach to
U.S. government officials or U.S. media outlets on behalf of the [Centre], nor
do they recall being party to, arranging, or facilitating any such
communications. Rather, it is the recollection and understanding of Messrs.
Gates and Manafort that such communications would have been facilitated and
conducted by the [Centre’s] U.S. consultants, as directed by the [Centre]. . . .”;
MANAFORT and Gates had merely served as a means of introduction of
Company A and Company B to the Centre and provided the Centre with a list
of “potential U.S.-based consultants—including [Company A] and [Company
B]—for the [Centre’s] reference and further consideration.”

DMI “does not retain communications beyond thirty days” and as a result of
this policy, a “search has returned no responsive documents.” The November
2016 letter attached a one-page, undated document that purported to be a DMI

“Email Retention Policy.”

In fact, MANAFORT and Gates had: selected Company A and Company B; engaged in

weekly scheduled calls and frequent e-mails with Company A and Company B to provide them
directions as to specific lobbying steps that should be taken; sought and received detailed oral and
written reports from these firms on the lobbying work they had performed; communicated with
Yanukovych to brief him on their lobbying efforts; both congratulated and reprimanded Company
A and Company B on their lobbying work; communicated directly with United States officials in
connection with this work; and paid the lobbying firms over $2 million from offshore accounts
they controlled, among other things. In addition, court-authorized searches of MANAFORT and

Gates’ DMI email accounts in 2017 and a search of MANAFORT'’s Virginia residence in July

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2017 revealed numerous documents, including documents related to lobbying, which were more
than thirty-days old at the time of the November 2016 letter to the Department of Justice.

29. Asa second part of the lobbying scheme, in 2012, MANAFORT, with the assistance of
Gates, on behalf of Yanukovych and the Government of Ukraine’s Ministry of Justice, retained a
United States law firm to write a report on the trial of Tymoshenko, among other things. The
treatment of Tymoshenko was condemned by the United States and was vicwed as a major hurdle
to normalization of relations with Ukraine. MANAFORT and Gates used onc of their offshore
accounts to funnel $4 million to pay for the report, a fact that was not disclosed in the report or to
the public. They also retained a public relations firm (Company C) to create and implement a roll-
out plan for the report. MANAFORT and Gates again secretly used one of their offshore accounts
to pay Company C, funneling the equivalent of more than $1 million to pay for the work.
MANAFORT, Gates, and their conspirators developed detailed written lobbying plans in
connection with the dissemination of the law firm’s report, including outreach to United States
politicians and press. MANAFORT reported on the law firm’s work and the lobbying plan to
representatives of the Government of Ukraine, including President Yanukovych. For instance, a
July 27, 2012, memorandum from MANAFORT noted: “[t]his document will address the global
rollout strategy for the [law firm’s] legal report, and provide a detailed plan of action{].” The plans
included lobbying in the United States.

30. Asa third part of the lobbying scheme, in or about 2012, MANAFORT, with the assistance
of Gates, on behalf of Yanukovych and the Party of Regions, secretly retained a group of former
senior European politicians to take positions favorable to Ukraine, including by lobbying in the
United States. Although the former politicians would appear to be providing their independent
assessments of Government of Ukraine actions, in fact they were paid lobbyists for Ukraine. In

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2012 and 2013, MANAFORT uscd at least four offshore accounts to wire more than 2 million
euros to pay the group of former politicians.

31. MANAFORT explained in an “EYES ONLY” memorandum created in or about June 2012
that the purpose of the “SUPER VIP” effort would be to “assemble a small group of high-level
European highly influencial [sic] champions and politically credible friends who can act
informally and without any visible relationship with the Government of Ukraine.” The group was
managed by a former European Chancellor, Foreign Politician A, in coordination with
MANAFORT. As explained by MANAFORT, a nongovernmental agency would be created to
retain this group, but it would act “at our quiet direction.” In or about 2013, Foreign Politician A
and other former politicians from the group lobbied United States Members of Congress, officials
in the Executive Branch, and their staffs in coordination with MANAFORT, Gates, Company A,
and Company B.

MANAFORT?’s Hiding Foreign Bank Accounts And False Filings

32, United States citizens who have authority over certain foreign bank accounts—whether or
not the accounts are set up in the names of nominees who act for their principals—have reporting
obligations to the United States.

33. United States citizens:are obligated to report information to the IRS regarding foreign bank
accounts. For instance, in 2010, Schedule B of IRS Form 1040 had a “Yes” or “No” box to record
an answer to the question: “At any time during [the calendar year], did you have an interest in or
a Signature or other authority over a financial account in a foreign country, such as a bank account,
securities account, or other financial account?” If the answer was “Yes,” then the form required
the taxpayer to enter the name of the foreign country in which the financial account was located.
34, In each of MANAFORT’s tax filings for 2008 through 2014, MANAFORT, with the

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assistance of Gates, represented falsely that he did not have authority over any foreign bank
accounts. MANAFORT and Gates had repeatedly and falsely represented in writing to
MANAFORT’s tax preparer that MANAFORT had no authority over foreign bank accounts,
knowing that such false representations would result in false tax filings in MANAFORT’s name.
For instance, on October 4, 2011, MANAFOR'|’s tax preparer asked MANAFORT in writing: “At
any time during 2010, did you [or your wife or children] have an interest in or a signature or other
authority over a financial account in a foreign country, such as a bank account, securities account
or other financial account?” On the same day, MANAFORT falsely responded “NO.”
MANAFORT responded the same way as recently as October 3, 2016, when MANAFORT?’s tax
preparer again emailed the question in connection with the preparation of MANAFORT’s tax
returns: “Foreign bank accounts etc.?” MANAFORT responded on or about the same day:
“NONE.”

Statutory Allegations

COUNT ONE
(Conspiracy Against The United States)

35. Paragraphs | through 34 are incorporated here.

36. From in or about and between 2006 and 2017, both dates being approximate and inclusive,
in the District of Columbia and elsewhere, the defendant PAUL J. MANAFORT, JR., together
with others, including Gates, knowingly and intentionally conspired to defraud the United States
by impeding, impairing, obstructing, and defeating the lawful governmental functions of a
government agency, namely the Department of Justice and the Treasury, and to commit offenses
against the United States, to wit, the violations of law charged in Counts Three, Four, and Five.

37. In furtherance of the conspiracy and to effect its illegal object, MANAFORT and his

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conspirators committed the overt acts noted in Count Four and the overt acts, among others, in the
District of Columbia and elsewhere, set forth in paragraphs 9, 16-18, 21-31, and 34, which are
incorporated herein.

(18 U.S.C. § 371)

COUNT TWO
(Conspiracy To Launder Money)

38. Paragraphs | through 34 are incorporated here.

39. In or around and between 2006 and 2016, both dates being approximate and inclusive,

within the District of Columbia and elsewhere, the defendant PAUL J. MANAFORT, JR., together

with others, including Gates, did knowingly and intentionally conspire to:
(a) transport, transmit, and transfer monetary instruments and funds from places outside
the United States to and through places in the United States and from places in the United
States to and through places outside the United States, with the intent to promote the
carrying on of specified unlawful activity, to wit: a felony violation of FARA, in violation
of Title 22, United States Code, Sections 612 and 618 (the “Specified Unlawful Activity”),
contrary to Title 18, United States Code, Section 1956(a)(2)(A); and
(b) conduct financial transactions, affecting interstate and foreign commerce, knowing that
the property involved in the financial transactions would represent the proceeds of some
form of unlawful activity, and the transactions in fact would involve the proceeds of the
Specified Unlawful Activity, knowing that such financial transactions were designed in
whole and in part (1) to engage in conduct constituting a violation of sections 7201 and
7206 of the Internal Revenue Code of 1986, and (ii) to conceal and disguise the nature,

location, source, ownership, and control of the proceeds of the Specified Unlawful

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Activity, contrary to Title 18, United States Code, Section 1956(a)(1)(A)QGi) and
1956(a)(1)(B)().
(18 U.S.C. § 1956(h))

COUNT THREE
(Unregistered Agent Of A Foreign Principal)

40. Paragraphs 1 through 34 are incorporated here.

41. From in or about and between 2008 and 2014, both dates being approximate and inclusive,
within the District of Columbia and elsewhere, the defendant PAUL J. MANAFORT, JR.,
knowingly and willfully acted as an agent of a foreign principal, and caused and aided and abetted
Companies A, B, and C, and others, including former senior foreign politicians, to act as agents of
a foreign principal, to wit, the Government of Ukraine, the Party of Regions, and Yanukovych,
without registering with the Attorney General as required by law.

(22 U.S.C. §§ 612 and 618(a\(1); 18 U.S.C. § 2)

COUNT FOUR
(False and Misleading FARA Statements)

42. Paragraphs | through 34 are incorporated here.

43. On or about November 23, 2016, and February 10, 2017, within the District of Columbia
and elsewhere, the defendant PAUL J. MANAFORT, JR., knowingly and willfully caused to be
made a false statement of a material fact, and omitted a material fact necessary to make the
statements therein not misleading, in a document filed with and furnished to the Attorney General

under the provisions of FARA, to wit, the underlined statements:

e “[DMI]’s efforts on behalf of the Party of Regions and Opposition Bloc did not
include meetings or outreach within the U.S.”

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e “tNfeither [DMI] nor Messrs. Manafort or Gates had any agreement with the

[Centre] lo provide services.”

e “[DMI] did provide the [Centre], at the request of members of the Party of Regions,

with a list_of potential U.S.-based consultants~ including [Company A and

Company B]—for the [Centre]’s reference and further consideration. [The Centre]

then contracted dircetly with [Company A and Company B] to provide services

Disclosure Act.”

e “Although Gates recalls interacting with [the Centre]’s consultants regarding

efforts in the Ukraine and Europe, neither Gates nor Mr. Manafort recall meeting

with or conducting outreach to U.S. government officials or U.S. media outlets on

behalf of the [the Centre], nor do they recall being party to, arranging, or facilitating

any such communications. Rather, it is the recollection and understanding of

Messrs. Gates and Manafort that such communications would have been facilitated

and conducted by the [Centre]’s U.S. consultants, as directed by the [Centre],

pursuant to the agreement reachicd between thosc partics (to which [DMI] was not

a party).”

e “{Al_ search has been conducted for correspondence containing additional

information related to the matters described in [the government’s] Letters,

Hlowever, as a result of J[DMI’s] Email Retention Policy. which does not retain

conumunications beyond thirty days, the search has returned no responsive

communications.”

(22 U.S.C. §§ 612 and 618(a)(2); 18 U.S.C. § 2)
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COUNT FIVE
(False Statements)

44. Paragraphs | through 34 and paragraph 43 are incorporated here.

45. Onor about November 23, 2016, and February 10, 2017, within the District of Columbia
and elsewhere, in a matter within the jurisdiction of the executive branch of the Government of
the United States, the defendant PAUL J. MANAFORT, JR., knowingly and willfully did cause
another: to falsify, conceal, and cover up by a scheme and device a material fact; to make a
materially false, fictitious, and fraudulent statement and representation; and to make and use a
false writing and document knowing the same to contain a materially false, fictitious, and
fraudulent statement, to wit, the statements in the November 23, 2016, and February 10, 2017,
submissions to the Department of Justice quoted in paragraph 43.

(18 U.S.C. §§ 2 and 1001(a))

FORFEITURE ALLEGATION
46. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the United
States will seek forfeiture as part of any sentence in accordance with Title 18, United States Code,
Sections 981(a)(1)(C) and 982(a)(1), and Title 28, United States Code, Section 2461(c), in the
event of the defendant’s convictions. Upon conviction of the offense charged in Count Two, the
defendant PAUL J. MANAFORT, JR., shall forfeit to the United States any property, real or
personal, involved in such offense, and any property traceable to such property. Upon conviction
of the offenses charged in Counts One, Three, and Four, the defendant PAUL J. MANAFORT,
JR., shall forfeit to the United States any property, real or personal, which constitutes or is derived
from proceeds traceable to the offense(s) of conviction. Notice is further given that, upon

conviction, the United States intends to seek a judgment against the defendant for a sum of money

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representing the property described in this paragraph (to be offset by the forfeiture of any specific
property).
47. The grand jury finds probable cause to believe that the property subject to forfeiture by
PAUL J. MANAFORT, JR., includes, but is not limited to, the following listed assets:
a, The real property and premises commonly known as 377 Union Street, Brooklyn,
- New York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and
attachments thereon, and any property traceable thereto;
b. The real property and premises commonly known as 29 Howard Street, #4D, New
York, New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements,
and attachments thereon, and any property traceable thereto;
c. The real property and premises commonly known as 1046 N. Edgewood Street,
Arlington, Virginia 22201, including all appurtenances, improvements, and attachments
thereon, and any property traceable thereto;
d, The real property and premises commonly known as 174 Jobs Lane, Water Mill,
New York 11976, including all appurtenances, improvements, and attachments thereon,
and any property traceable thereto;
€, Northwestern Mutual Universal Life Insurance Policy 18268327, and any property
traceable thereto;
f. All funds held in account | IJ at Charles A. Schwab & Co. Inc., and
any property traceable thereto; and
g. All funds held in account number [J0969 at The Federal Savings Bank, and

any property traceable thereto.

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Substitute Assets

48. If any of the property described above as being subject to forfeiture, as a result of any act or

omission of the defendant

a.

b.

cannot be located upon the exercise of due diligence; "
has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property that cannot be subdivided without

difficulty;

it is the intent of the United States of America, pursuant to Title 18, United States Code, Section

982(b) and Title 28, United States Code, Section 2461(c), incorporating Title 21, United States

Code, Section 853, to seek forfeiture of any other property of said defendant.

A TRUE BILL:

Robert S. Mueller, I]
Special Counsel
Department of Justice

 

rAreperson

Date: February 16, 2018

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